        Case 1:19-cv-01348-CNL Document 68 Filed 08/16/22 Page 1 of 4




                 IN THE UNITED STATES COURT OF FEDERAL CLAIMS
____________________________________
PETRINA SMITH, individual, on behalf of )
herself and all others similarly situated, )
                                           )
                 Plaintiff,                )
                                           )
v.                                         ) No. 19-1348C
                                           ) Judge Carolyn N. Lerner
UNITED STATES OF AMERICA                   )
                                           )
                                           )
                 Defendant.                )
                                           )

             PLAINTIFF’S NOTICE OF DIRECTLY RELATED CASES
                         PURSUANT TO RULE 40.2(a)

                                           Walt Pennington
                                           wpennington@pennfirm.com
                                           Pennington Law Firm
                                           3304 30th Street
                                           San Diego, CA 92104
                                           Telephone: (619) 940-6157

                                           David R. Markham
                                           dmarkham@markam-law.com
                                           Maggie Realin
                                           mrealin@markham-law.com
                                           Lisa Brevard
                                           lbrevard@markham-law.com
                                           THE MARKHAM LAW FIRM
                                           888 Prospect Street, Suite 200
                                           La Jolla, CA 92037
                                           Telephone: (619) 399-3995
                                           Facsimile: (619) 615-2067

                                           Stephen B. Morris
                                           The Law Offices of Stephen B. Morris
                                           444 West C Street, Suite 300
                                           San Diego, CA 92101
                                           Telephone: (619) 239-1300
                                           Facsimile: (619) 374-7082

                                           Attorneys for Plaintiff


                                       1
          Case 1:19-cv-01348-CNL Document 68 Filed 08/16/22 Page 2 of 4




        Pursuant to Rule 40.2(a)(3) of the Rules of the United States Court of Federal Claims

(RCFC), Plaintiff Petrina Smith, in this matter of Smith, et al. v. United States (“Smith”), case number

19-1348C, assigned to the Honorable Carolyn N. Lerner, and first-filed on September 4, 2019,

respectfully provides this Notice of a Directly Related Case, Anderson, et al. v. United States of America

(“Anderson”), case number 20-1878C, assigned to the Honorable Thompson M. Dietz, and filed on

December 16, 2020. Plaintiff files this Notice of Directly Related Case on the basis that both cases

involve the same parties and are based on the same or substantially similar claims. The Smith action

is a putative collective action under the Fair Labor Standards Act, 29 U.S.C. § 201, et. seq., (FLSA) on

behalf of Plaintiffs and other similarly situated Assistant Canteen Chiefs (“ACCs”) employed with

the United States Veterans Canteen Service (“VCS”) nationwide, alleging that ACCs were

misclassified as salaried-exempt and were not paid overtime compensation for hours worked over

forty (40) in a week. The Anderson action similarly involves, albeit for a shorter period of limitations

than the Smith Action, a putative collective action under the FLSA, on behalf of Plaintiffs and other

similarly situated ACCs employed at with the VCS nationwide, and also alleges that ACCs were

misclassified as salaried-exempt and were not paid overtime pay. Because both cases involve

substantially similar parties and putative collective groups, and involve determination of the same or

substantially identical questions of law or fact regarding misclassification of ACCs, they qualify as

directly related cases under Rule 40.2(3)(a)(ii), and Plaintiff Smith provides this notice herein.

        Additionally, in response to the information requested in Rule 40.2(3)(a)(iii), Plaintiff Smith

believes that assigning the cases to a single judge would not be likely to conserve judicial resources

and promote efficiency in both actions at this time. Both cases currently have pending motion

practice which, if the case(s) were reassigned at this juncture, may duplicate efforts on already

briefed and pending matters. Should the Court, however, decide to assign the cases to a single judge,

Plaintiff requests the Anderson action, as a second-filed action, be assigned to the Honorable Carolyn

N. Lerner, the judge presiding over the first-filed Smith action.



                                                     2
         Case 1:19-cv-01348-CNL Document 68 Filed 08/16/22 Page 3 of 4




Dated: August 16, 2022              Respectfully submitted,


                                    s/ Lisa Brevard
                                    David R. Markham; dmarkham@markham-law.com
                                    Maggie Realin; mrealin@markham-law.com
                                    Lisa Brevard; lbrevard@markham-law.com
                                    THE MARKHAM LAW FIRM
                                    888 Prospect Street, Suite 200
                                    La Jolla, CA 92037
                                    Tel: (619) 399-3995/Fax: (619) 615-2067

                                    s/ Walt Pennington
                                    Walt Pennington, Pennington Law Firm
                                    Telephone: (619) 940-6157
                                    Email: wpennington@pennfirm.com




                                       3
          Case 1:19-cv-01348-CNL Document 68 Filed 08/16/22 Page 4 of 4



                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 16th day of August 2022, the foregoing PLAINTIFF’S

NOTICE OF DIRECTLY RELATED CASES PURSUANT TO RULE 40.2(a) was
electronically filed with the Clerk of the Court using the ECF system, which sent notification of

such filing to all counsel of record who have enrolled and registered for receipt of filings via the

Court’s ECF system.


                                                        /s/ Leeanna Carcione




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